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  8                           UNITED STATES DISTRICT COURT
  9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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 11 ALI MAHDAVI, AN INDIVIDUAL,               CASE NO. 2:20-CV-00332-ODW-SK
                                              The Hon. The Honorable Otis D.
 12              Plaintiff,                   Wright
 13        vs.                                ORDER GRANTING FOURTH
                                              JOINT STIPULATION TO
 14 THEBALM COSMETICS                         EXTEND TIME TO RESPOND TO
    HOLDINGS, INC., AND DOES 1                INITIAL COMPLAINT
 15 THROUGH 10 INCLUSIVE,
 16              Defendants.
 17                                           Trial Date:   None Set
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                                      [PROPOSED] ORDER
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  1        This Court has considered the parties’ Stipulation to extend the time for
  2 Defendant TheBalm Cosmetics Holdings, Inc. to respond to the Complaint until
  3 May 25, 2020.
  4        Good cause appearing, IT IS HEREBY ORDERED, that Defendant TheBalm
  5 Cosmetics Holdings, Inc. shall have until May 25, 2020, to respond to the
  6 Complaint.
  7        IT IS SO ORDERED.
  8 DATED: May 12, 2020
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                                        By:
 11                                           Otis D. Wright, II
 12                                           United States District Judge

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                                       [PROPOSED] ORDER
